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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------------------X
OREN ROSENSHINE and AMIR ROSENSHINE,

                          Plaintiffs,                                                    ORDER
                                                                                    18 CV 3572 (LDH)(LB)
        -against-

A. MESHI COSMETICS INDUSTRIES LTD., A TO Z
IMPORT INC., and EYAL NOACH,

                           Defendants.
-----------------------------------------------------------------------X
BLOOM, United States Magistrate Judge:

        The Court held a telephone conference in pro se plaintiffs’ action on September 21, 2020 and set
the following deadlines. Plaintiffs shall file their motion to amend attaching a corrected proposed second
amended complaint by September 25, 2020 at noon. Defendants shall file any opposition to the motion
to amend by October 5, 2020.
        The parties are urged to discuss settlement.
SO ORDERED.



                                                                                        /S/
                                                                          LOIS BLOOM
                                                                          United States Magistrate Judge
Dated: September 22, 2020
       Brooklyn, New York




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